Case 1:19-cr-00020-RDB Document 39 Filed 08/16/19 Page 1 of 2

4.

FIRED

U.S DISET COURT.

IN THE UNITED STATES DISTRICT COURT

FOR THE DIST RIS TORMSANILAND
UNITED STATES OF AMERICA
v.
PAUL ALEXANDER,
Defendant 1200 0..0

 

GOVERNMENT’S EXHIBIT LIST - AUGUST 15, 2019 MOTION HEARING

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Ex, No. | Description Identified Admitted
1 Satellite image of 1300 block of Reisterstown
Road, Pikesville, Maryland AUG 15 2019 AUG 15 2019
2A DEA covert surveillance footage from April 6,
2018, April 26, 2018, and May 15, 2018 AUG 152019 =| AUG 15 2019
3A-3B Still photographs from May 15, 2018 Body-
worn camera AUG 15 2gre AUG 15 2019
Photographs taken during May 15, 2018 search
4A-4M | of Paul Alexander’s vehicle AUG 15 2019 AUG 15 2019
5 Body-worn camera footage from May.15, 2018
traffic stop of Paul Alexander AUG 15 2019 AUG 15 2019
6 Photograph of 2006 Name Change Decree for
Paul Alexander AUG 45 2019 AUG 15 2019
7 DEA Report of Investigation relating to April
6, 2018 traffic stop of Paul Alexander
g DEA Report of Investigation relating to April
26, 2018 traffic stop of Paul Alexander
DEA Report of Investigation relating to May
? 15, 2018 traffic stop of Paul Alexander AUG 15 2019
10 DEA Report of Investigation relating to June
2018 controlled delivery of $300,000
Baltimore City Police Department K9 Report
11 | relating to May 15, 2018 traffic stop of Paul AUG 15 7818 AUG 15
Alexander 2019
Officer Huter and Canine Gejza Certification
'2 | Records AUG 1520 | Aus 15 2019

 

 
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UNITED STATES OF AMERICA

 

 

 

vs.
PAUL ALEXANDER
Civil/Criminal No. RDB-19-020 Government’s Exhibits
Exhibit No. | Identification Admitted Description
13 8/15/19 DEA Acquisition 6

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Exhibit List (Rev. 3/1999)

 
